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                                     UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF FLORIDA

                                             CASE NO.: 24-cv-61983-WPD

  CATHERINE KUEPPERS and KATHLEEN SUMMY,
  individually and on behalf of all others similarly situated,

                 Plaintiffs,

  v.

  ZUMBA FITNESS, LLC,

              Defendant.
  ____________________________________________/

   DEFENDANT’S UNOPPOSED MOTION FOR EXTENSION OF TIME TO RESPOND
                     TO PLAINTIFFS’ COMPLAINT

         Defendant, Zumba Fitness, LLC (“Zumba”), pursuant to Fed. R. Civ. P. 6(b)(1)(A), hereby
  file this Unopposed Motion for Extension of Time to Respond to Plaintiffs’, Catherine Kueppers
  and Kathleen Summy (“Plaintiffs”), Complaint [ECF No. 1], and state:
         1.      Zumba’s response to Plaintiffs’ Complaint is currently due on December 30, 2024.
  See [ECF No. 8].
         2.      Undersigned counsel was retained to represent Zumba in this action on or about
  December 2, 2024. See [ECF No. 9].
         3.      Unfortunately, very shortly after being retained, undersigned counsel had trial in
  American Life Fund Corp., et al. v. Settlement Benefits Association, Inc., et al., Case No. 9:21-cv-
  81046-WM (S.D. Fla.), requiring significant time and attention of undersigned counsel. The trial
  in that matter concluded on December 13, 2024.
         4.      Undersigned counsel has begun an investigation into the claims asserted in this
  case, however, given the above-mentioned federal court trial, as well as the upcoming Holidays,
  undersigned counsel needs brief additional time to complete this investigation and to prepare/file
  a response to the Complaint on behalf of Zumba.



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         5.      Pursuant to Rule 6(b)(1)(A) of the Federal Rules of Civil Procedure, “when an act
  may or must be done within a specified time, the court may, for good cause, extend the time . . . if
  a request is made, before the original time or its extension expires.” Id.
         6.      Here, Zumba respectfully requests an unopposed brief two-week extension,
  through and including January 13, 2025, to file/serve its response to Plaintiffs’ Complaint.
         7.      This Motion is made in good faith and not for the purpose of delay, and no prejudice
  will result to Plaintiffs based on the relief requested herein.
         8.      Further, at this time, no pre-trial deadlines or trial have been set, so the requested
  extension will not impact the same.
         9.      Moreover, Zumba’s counsel has conferred with Plaintiffs’ counsel, and Plaintiffs
  have no objection to the extension of time sought.
         10.     Plaintiffs have also requested an additional thirty (30) days to file a response to any
  dispositive motion filed by Zumba in response to Plaintiffs’ Complaint.
         11.     Zumba has no objection to this requested relief.
         WHEREFORE, Defendant, Zumba Fitness, LLC, respectfully requests this Court grant this
  Motion and enter the proposed Order attached hereto as Exhibit 1.




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                                             CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 23rd day of December 2024, a true and correct copy of
  the foregoing has been filed and furnished to all counsel of record.



                                                                       COLE, SCOTT & KISSANE, P.A.
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                                 By:                                               s/ Matthew A. Green
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